Case 8:10-cr-00497-JSM-TBM Document 163 Filed 02/04/15 Page 1 of 2 PageID 714




                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION

UNITED STATES OF AMERICA

v.                                                          CASE NO: 8:10-cr-00497-T-30TBM

WILMER RENE PINEDA MEJIA


 Order Granting in Part Defendant’s Motion for Prison-Term Reduction Under 18 U.S.C.
                        § 3582(c)(2) Based on USSG Amend. 782



       Before the Court is the Defendant’s Motion for Prison-Term Reduction under 18 U.S.C. §

3582(c)(2) based on USSG Amend. 782, a retroactive guideline amendment, see USSG

§1B1.10(d) (2014) (Doc.# 162). The motion requests this Court to grant the reduction without

regard to the limitation in USSG § 1B1.10(e) that the release date may not be earlier than

November 1, 2015. The motion is granted in part. The sentence will be reduced pursuant to

Amendment 782, but not earlier than November 1, 2015, as required by USSG § 1B1.10(e).

       Having reviewed the facts in both the original presentence investigation report and the

November 26, 2014 memorandum from the United States Probation Office in light of the factors

in 18 U.S.C. § 3553(a) and the need to consider the nature and seriousness of any danger posed by

a reduction, see USSG §1B1.10, comment. (n.1(B)(ii)), the Court finds that a reduction of 17

months is warranted. Consistent with USSG §1B1.10(e)(1), and in light of the practical difficulties

of a possible release date on Sunday, November 1, 2015, the effective date of this order is

November 2, 2015.

       Therefore:

       (1)     The Court grants in part the defendant’s motion, Doc. # 162.
Case 8:10-cr-00497-JSM-TBM Document 163 Filed 02/04/15 Page 2 of 2 PageID 715




       (2)    The Court reduces the defendant’s prison term from 87 to 70 months or time

              served, whichever is greater.

       (3)    The effective date of this order is November 2, 2015.

       DONE and ORDERED in Chambers, Tampa, Florida on this 4th day of February, 2015.




Copies furnished to:

Counsel of Record
Magistrate Judge
United States Marshals Service
United States Probation Office
United States Pretrial Services
